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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WINTER INVESTORS, LLC, et al.,

                           Plaintiffs,
                                                    14 Civ. 6852 (KPF)
                    -v.-
                                                          ORDER
SCOTT PANZER, et al.,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

        The Court held a conference in this action on February 21, 2019.

Defendants Sol Mayer, Eli Verschleiser, Etr Investors Holdings, LLC, Eve, LLC,

Etre Financial, LLC, Etre Financial Holdings, LLC, Etre Financial Holdings,

LLC, and Etre Financial, LLC, failed to appear at the conference. Accordingly,

on April 22, 2019, the Court ordered the Defendants to show cause, in writing,

by May 6, 2019, why the Court should not enter default judgement against

them.

        On May 9, 2019, the Court received a letter via e-mail from Defendant Eli

Verschleiser, writing on behalf of himself and Defendant Eve, LLC. (Dkt. #117).

The Court now understands that Mr. Verschleiser intends to proceed pro se

and participate in the settlement conference scheduled before Magistrate Judge

Aaron on Tuesday, May 21, 2019 at 10:00 a.m. in Courtroom 11C, United

States Courthouse, 500 Pearl Street, New York, NY 10007.

        However, Mr. Verschleiser is reminded that Defendant Eve, LLC, as a

corporation, cannot proceed pro se. On December 20, 2018, the Court issued

an Order, requesting entity litigants that did not currently have counsel,
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including Eve, LLC, to obtain counsel by February 28, 2019. The Court will

extend that deadline one final time. To that end, Eve, LLC, is hereby

ORDERED to obtain counsel who will enter a notice of appearance on or before

June 7, 2019. To be clear, the Court observes that it would certainly be

preferable for Eve, LLC, to secure counsel prior to the conference before

Magistrate Judge Aaron, so that the company can participate meaningfully in

the discussions. The June 7 deadline is for avoidance of default.

      Finally, the Court reminds Mr. Verschleiser that, as a pro se party, all

communications with the Court must be sent to the Pro Se Intake Office:

             Pro Se Intake Office
             United States District Court
             Southern District of New York
             40 Foley Square, Room 105
             New York, NY 10007
             (212) 805-0175

No documents or filings should be sent directly to Chambers, either by mail or

e-mail. The Court has edited the docket to reflect Plaintiff’s address as

provided in his letter, dated May 8, 2019: 44 Wall Street, New York, New York,

10005. To avoid further confusion, the Court will send this Order to Plaintiff

via e-mail. However, all future communication from the Court to Plaintiff will

be mailed to Plaintiff’s address on file. It is Plaintiff’s obligation to notify the

Court if his address changes.

      With regarding to Defendants Sol Mayer, Etr Investors Holdings, LLC,

Etre Financial, LLC, Etre Financial Holdings, LLC, Etre Financial Holdings,

LLC, and Etre Financial, LLC, as of May 9, 2019, the Court has not received

any communication from any of those Defendants. The Court finds accordingly
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  that those Defendants have defaulted. Plaintiffs are directed to provide a

  statement of damages, if such damages are readily ascertainable, or a request

  for an inquest as to damages, if such damages are not readily ascertainable, on

  or before June 7, 2019. The Clerk of Court is hereby ordered to enter a

  judgment of default as to each of those Defendants. It is further ORDERED,

  ADJUDGED AND DECREED that Plaintiff shall have judgment against

  Defendants Sol Mayer, Etr Investors Holdings, LLC, Etre Financial, LLC, Etre

  Financial Holdings, LLC, Etre Financial Holdings, LLC, and Etre Financial,

  LLC, in an amount to be determined later.

   Dated: May 9, 2019
          New York, New York

                                                       KATHERINE POLK FAILLA
                                                      United States District Judge


A copy of this Order was mailed by Chambers to:
  Eli Verschleiser
  44 Wall Street
  New York, NY 10005

  Eli.v@magenu.org




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